 Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 1 of 20




               UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF TEXAS
                   SAN ANTONIO DIVISION

MALIBU MEDIA, LLC,
Plaintiff,
                               CIVIL ACTION NO. 5-19-CV-00834-DAE
vs.

JOHN DOE,
Defendant.



DEFENDANT JOHN DOE’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 2 of 20




                                                   Table of Contents

Motion and memorandum in support………………………………………………………1

I.          Introduction. .............................................................................................................. 1

II.         Procedural history. .................................................................................................... 1

III.        Legal standards ......................................................................................................... 2

      A.        Summary judgment standard. .............................................................................. 2

      B.        Rule 8(b)(6) admissions. ...................................................................................... 3

      C.        A court can grant summary judgment based on Rule 8(b)(6) admissions that show
                no genuine dispute over material facts................................................................. 3

IV.         Because Malibu did not answer Doe’s counterclaim allegations, Rule 8(b)(6)
            requires the Court to find that Malibu admits the allegations. ................................. 4

V.          The undisputed facts. ................................................................................................ 4

      A.        Malibu has misused the copyright law and litigation process. ............................ 4

      B.        Malibu’s accessed Doe’s network without his consent. ...................................... 6

      C.        Doe did not access or copy any of Malibu’s claimed copyrights. ....................... 7

VI.         The Court should grant summary judgment on liability for Doe’s two counterclaims
            seeking damages. ...................................................................................................... 8

      A.        Because there is no genuine dispute over facts on Doe’s counterclaim under the
                Tex. Civ. Prac. & Rem. Code § 143, the Court should grant summary judgment.
                .............................................................................................................................. 8

           1.     The elements for liability under Tex. Civ. Prac. & Rem. Code § 143. ............. 8

           2.     There is no genuine dispute that Malibu accessed Doe’s network without Doe’s
                  effective consent and intending to harm Doe. .................................................. 8

      B.        Because there is no genuine dispute over the facts on Doe’s abuse of process
                counterclaim, the Court should grant summary judgment. .................................. 9

           1.     Legal standard for abuse of process. ................................................................. 9

           2.     There is no genuine dispute that Malibu has made an improper or perverted use
                  of legal process. .............................................................................................. 10

                                                                 ii
  Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 3 of 20




          3.     There is no genuine dispute that Malibu maintains an ulterior purpose in abusing
                 the legal process. ............................................................................................. 11

          4.     There is no genuine dispute that Malibu’s abuse of process has harmed and
                 continues to harm Doe. ................................................................................... 12

VII. The Court should enter a declaratory judgment on Doe’s non-infringement
     counterclaim. .......................................................................................................... 12

     A.        Elements of copyright infringement. ................................................................. 12

     B.        There is no genuine dispute that Doe did not access any of Malibu’s alleged
               copyright films. .................................................................................................. 13

     C.        There is no genuine dispute that the digital media pieces Malibu monitored are
               not substantially similar to Malibu’s alleged copyrighted films........................ 14

VIII. The Court should grant Doe summary judgment on Malibu’s claim for copyright
      infringement. .......................................................................................................... 14

IX.        Granting Doe summary judgment before discovery ends is appropriate given
           Malibu’s lack of effort............................................................................................ 15

X.         Conclusion .............................................................................................................. 15

Appendix 1-88……………………………………………………………………..attached




                                                             iii
         Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 4 of 20




       Defendant John Doe moves under Fed. R. Civ. P. 56 for an order (1) granting Doe summary

judgment on Doe’s counterclaim for a declaratory judgment of non-infringement: (2) granting Doe

summary judgment on Malibu’s claim of copyright infringement; and (3) granting Doe summary

judgment on Malibu’s liability over Doe’s counterclaims for abuse of process and harmful

computer access, leaving only damages for trial.

I. Introduction.

       Plaintiff Malibu Media, LLC (“Malibu”) sued Defendant John Doe for copyright

infringement despite knowing its methods for identifying infringers on the file-sharing platform

BitTorrent are deeply flawed. And then after the Court denied Malibu’s motion to dismiss Doe’s

counterclaims in April, Malibu chose not to answer Doe’s counterclaims. This failure to answer

effectively proves Doe’s counterclaims because under Rule 8(b)(6) Malibu has now admitted

Doe’s allegations.

       Simply put, the record is now complete enough to show there are no genuine disputes of

material facts. For that reason, Doe is entitled to judgment on his counterclaims and Malibu’s

infringement claim. Malibu can offer no justification to delay summary judgment. Indeed, Malibu

has requested no discovery from Doe in the nearly 7 months discovery has been open. And any

last-minute discovery requests Malibu might serve on liability would be futile.

       The facts, the law, and basic justice all dictate that it is time for Malibu’s litigation abuse

to stop. That is why the Court should grant Doe’s motion for partial summary judgment.

II. Procedural history.

       This is just one of dozens of copyright infringement lawsuits that Malibu filed in this

District in 2019. [See Dkt. 6, Notice of Related Cases]. As in its other lawsuits, Malibu sued Doe

for copyright infringement of pornographic films based only on an internet protocol (IP) address
           Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 5 of 20




(App. 1-11). Then Malibu asked to subpoena Doe’s internet service provider (ISP) for Doe’s name

and address. (App. 12-62).

       Upon receiving notice from his 1 ISP, Doe filed his answer denying Malibu’s claims along

with three counterclaims. (App. 63-86). First, Doe asks the Court to enter declaratory judgment of

non-infringement. (App. 80-81). Second, Doe asks for relief based on abuse of process. (App. 81-

83) And third, he asks for relief under Texas’s civil remedy for harmful access by computer. (App.

83-84]).

       In January, Malibu asked the Court to dismiss Doe’s counterclaims under Rule 12(b)(6).

[Dkt. 17]. But the Court denied Malibu’s motion to dismiss on April 9, 2020. [Dkt. 28]. And in the

three months since, Malibu has not answered Doe’s counterclaims.

       Nor has Malibu served Doe with any discovery requests even though discovery opened in

January. (App. 88 ¶ 9; see also Dkt. 22 and 25). Indeed, Malibu has not asked to inspect Doe’s

computer. [Id.] To that end, it is no surprise that Malibu served no expert disclosures by the July

1 deadline. (App. 88 ¶ 10; see also Dkt. 30).

III. Legal standards

    A. Summary judgment standard.

       A court should grant summary judgment “if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law.” Kee v. City of Rowlett, 247 F.3d 206, 210 (5th Cir. 2001) (quotations omitted). In short, a

genuine issue of material fact exists if a reasonable jury could find for the non-movant. Crawford



1
  For purposes of readability, this motion uses generic male pronouns to refer to Doe, without
implying anything about Doe’s actual gender.

                                                 2
         Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 6 of 20




v. Formosa Plastics Corp., 234 F.3d 899, 902 (5th Cir. 2000) (citation omitted). In making this

determination, a court views evidence in the light most favorable to the non-movant and draws all

reasonable inferences in his favor. Id.

    B. Rule 8(b)(6) admissions.

        Fed. R. Civ. P. 8(b)(6) provides “[a]n allegation—other than one relating to the amount of

damages—is admitted if a responsive pleading is required and the allegation is not denied.” On

that basis, district courts in the Fifth Circuit have often applied this rule to find a party admitted an

opponent’s allegations after the party failed to answer a complaint or counterclaim. E.g., Moffitt v.

Reverse Mortg. Funding, LLC, Civil Action No. 5:18-cv-00935-OLG, 2019 U.S. Dist. LEXIS

149203, at *4-6 (W.D. Tex. June 10, 2019); Starlight Bldg., Ltd. v. Bazemore, No. 4:10-CV-259,

2017 U.S. Dist. LEXIS 211713, at *13-14 (E.D. Tex. Sep. 28, 2017); Sapienza v. Trahan, No.

6:16-CV-01701, 2019 U.S. Dist. LEXIS 44689, at *20-22 (W.D. La. Mar. 18, 2019).

    C. A court can grant summary judgment based on Rule 8(b)(6) admissions that show no
       genuine dispute over material facts.

        A party can use “materials in the record, including…admissions” to show a lack of any

genuine dispute over a material fact on summary judgment. Fed. R. Civ. P. 56(c)(1)(A). This

includes Rule 8(b)(6) admissions. That is why courts have granted summary judgment when Rule

8(b)(6) admissions showed a lack of disputed facts.

        For example, in a recent decision from this District, the court granted summary judgment

on a counterclaim based on Rule 8(b)(6) admissions after the plaintiff failed to respond to the

counterclaim’s key allegations. Moffitt, 2019 U.S. Dist. LEXIS 149203 at *6. And other courts

have granted summary judgment based on Rule 8(b)(6) admissions. E.g., Perez v. El Tequila, LLC,

847 F.3d 1247, 1253-55 (10th Cir. 2017) (affirming summary judgment where Rule 8(b)(6)

admissions showed no genuine dispute of fact); St. v. St., 2016 U.S. Dist. LEXIS 200980, at *5

                                                   3
         Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 7 of 20




(S.D. Miss. June 9, 2016) (granting summary judgment in large part on Rule 8(b)(6) admissions);

Pinelle v. Coastal Bldg. Maint., Inc., No. 09-22696-CIV-KING, 2010 U.S. Dist. LEXIS 151670,

at *3-5 (S.D. Fla. Aug. 9, 2010). In effect, when a party fails to deny allegations and thus admits

them under Rule 8(b)(6), there is “no further burden upon [the] [p]laintiff to prove its case

factually.” Stewart v. Regent Asset Mgmt. Solutions, No. 1:10-CV-2552-CC-JFk, 2011 U.S. Dist.

LEXIS 50046, 2011 WL 1766018, at *1 (N.D. Ga. May 4, 2011) (quoting Burlington N. R.R. Co.

v. Huddleston, 94 F.3d 1413, 1415 (10th Cir. 1996)).

IV. Because Malibu did not answer Doe’s counterclaim allegations, Rule 8(b)(6) requires the
    Court to find that Malibu admits the allegations.

       After the Court denied Malibu’s motion to dismiss Doe’s counterclaims, Malibu had 14

days to answer those counterclaims. Fed. R. Civ. P. 12(a)(4)(A) (instructing that if a court denies

a Rule 12 motion, “the responsive pleading must be served within 14 days after notice of the court’s

action.”) The Court denied Malibu’s motion over three months ago. Yet Malibu has not answered

Doe’s counterclaims. Thus, Rule 8(b)(6) requires the Court to find Malibu has admitted Doe’s

counterclaim allegations.

V. The undisputed facts.

       Malibu’s allegations, declarations, and Rule 8(b)(6) admissions, along with Doe’s

declaration and judicial findings in similar cases, show the following undisputed facts.

   A. Malibu has misused the copyright law and litigation process.

       Malibu produces and distributes pornographic films. (App. 8-9, App. 77 ¶ 9). Even though

Malibu offers subscriptions to its films, it knows that free pornography pervades the internet,

leaving its films with little market value. (App. 77 ¶¶ 98-99). So Malibu allows others to share its

films, only to turn around and sue those sharers for copyright infringement. (Id.) Of course,

Malibu’s owner Collette Pelissier claims that Malibu’s “intention in bringing these lawsuits is not

                                                 4
         Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 8 of 20




to cause financial hardship but instead to deter infringement and be compensated for the intentional

theft of its videos.” (App. 42 ¶ 19). But Malibu does not monitor and deter infringement using

methods standard for the streaming media and movie industries. (App. 77 ¶ 100).

       The chief way Malibu monitors copying is through IPP International UG (“IPP”). In 2011,

Malibu hired IPP to act as its agent and monitor BitTorrent for sharing of Malibu’s films. (App.

56 ¶ 6; App. 78 ¶¶ 101-105; App. 83 ¶ 131). Indeed, IPP has monitored BitTorrent for Malibu

“thousands” of times. (App. 56 ¶¶ 6-7). To that end, Malibu instructs IPP to hide itself from other

BitTorrent users and network owners. (App. 78 ¶ 104).

       Malibu directs IPP to connect to BitTorrent users and download small pieces of data that

Malibu contends correspond to parts of its copyrighted films. (App. 78 ¶ 102). Next, IPP uses this

connection to identify an IP address associated with the piece of data sent over BitTorrent. (App.

58 ¶ 9; App. 78 ¶¶ 105-106). Then Malibu sues based on the IP address IPP identified. (App. 78 ¶

105) This method is what led Malibu to sue on Doe’s IP address. [App. 2-4; App. 58 ¶¶ 9-13).

       But Malibu sued Doe knowing its method is flawed. (App. 70 ¶ 108). First, Malibu does

not directly compare any pieces of BitTorrent data IPP received from an IP address with its full

copyrighted films. (App. 80 ¶ 118). Second, Malibu admits that while an IP address might link to

the person paying an internet bill, that IP address often does not link to the person who sends data

over BitTorrent. (App. 79 ¶ 107). Indeed, many other courts have found that IP addresses alone

cannot identify a specific person sharing files over BitTorrent. E.g., Cobbler Nevada, LLC v.

Gonzales, 901 F.3d 1142, 1145 (9th Cir. 2018); Malibu Media LLC v. Duncan, No. 4:19-CV-

02314, 2020 U.S. Dist. LEXIS 20905 at *5 (S.D. Tex. Feb. 4, 2020); Malibu Media, LLC v. Peled,

No.: 2:18-cv-00141-KSH-CLW, 2020 U.S. Dist. LEXIS 28768, at *15-16 (D.N.J. Feb. 20, 2020);

Malibu Media, LLC v. Doe, 2018 U.S. Dist. LEXIS 207655, 2018 WL 6446404 (N.D. Ill. Dec. 10,



                                                 5
          Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 9 of 20




2018).

         Yet Malibu continues to file hundreds of lawsuits relying on this method—including

dozens of lawsuits in this District in 2019—while seeking to unmask anonymous internet users.

(App. 79 ¶ 110; see also Dkt. 6, Notice of Related Cases). Malibu uses its flawed method to

monetize its copyrights, forcing internet users to choose between paying a settlement

disproportionate to the value of Malibu’s works, or risking embarrassment and reputation damage

if linked by name to Malibu’s allegations. (App. 79-80 ¶¶ 109, 112). This was Malibu’s goal in

suing Doe. (App. 81 ¶ 123).

         What is more, Malibu asked the Court to unmask Doe using defective declarations.

(App.38-59). First, Pelissier’s declaration is undated. (App. 44). Second, the declaration from

Malibu’s consultant Patrick Paige discussing Malibu’s infringement detection method is dated in

2016. (App. 55). This shows Paige’s declaration is obsolete and not credible given the speed at

which technology like BitTorrent develops. (Id.; App. 82 ¶ 127). And third, it appears the date on

Malibu’s declaration from its IPP representative is July 2015. (App. 59). But this is two years

before the first date of alleged infringement. (App. 8-9, App. 82 ¶ 126]. Malibu submitted these

declarations before making admissions under Rule 8(b)(6).

   B. Malibu’s accessed Doe’s network without his consent.

         Malibu describes how its IPP made a TCP/IP connection between its servers and some

device using Doe’s IP address. (App. 4 ¶ 18, App. 58 ¶ 13). In doing so, Malibu knowingly

accessed Doe’s network or system without his consent. (App. 83 ¶ 131, App. 88 ¶ 8). On top of

this, Malibu directed IPP to access Doe’s network to get information for Malibu’s pattern of

abusive and improper copyright litigation. (App. 83 ¶ 133). And Malibu accessed Doe’s network

despite knowing the strong likelihood that the subscriber associated with an IP address often is not



                                                 6
        Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 10 of 20




the person who accesses and distributes data over BitTorrent. (Id.)

   C. Doe did not access or copy any of Malibu’s claimed copyrights.

       Between 2017 and 2019, Doe never used BitTorrent. (App. 87 ¶ 6). Nor did Doe install or

maintain BitTorrent on any device he used between 2017 and 2019. (Id.) Nor did Doe view any of

the films Malibu lists in its complaint. (App. 88 ¶ 7). And Doe never accessed, copied, stored, or

distributed any of these films. (Id.)

       By contrast, Malibu offers no convincing evidence of infringement. Malibu concedes that




(App. 2, ¶ 9). Yet Malibu also concedes that IP addresses alone cannot identify a person or device

using an IP address, and thus alone cannot show an infringer. (App. 79-80 ¶¶ 107-108, 117). Nor

does Malibu deny denied Doe’s statement that “Defendant did not infringe the copyrights

identified in Plaintiff’s Complaint.” (See App 80 ¶ 116).

       While Malibu claims IPP “downloaded…one or more pieces” of the copyrighted works

from Doe’s IP address (App. 4 ¶ 19-20), Malibu admits it never compared these pieces with the

data composing the full copyrighted films. (App. 80 ¶ 118). Indeed, Malibu does not even identify

what “pieces” of its works it believes Doe copied. (See generally App. 1-11, Malibu Complaint;

App. 56-59, T. Fiser Decl.) And what is more, these data pieces cannot display or perform even a

part of Malibu’s films. (App. 78 ¶ 106).

       So instead, Malibu relied on third-party data unassociated with Doe’s IP address to

“recreate” its work. [Id., App. 81 ¶ 124). Malibu also asserts that it used unique hash values to

identify the pieces of the digital media files that correspond to its films. (App. 3-4 ¶¶ 15-20; App.

58 ¶¶ 10-11). But Malibu offers no allegations or competent evidence that shows any audiovisual
                                                 7
        Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 11 of 20




material the hash value identifies. In the end, Malibu can offer no evidence that Doe was the person

they allege used BitTorrent to share Malibu’s films.

VI. The Court should grant summary judgment on liability for Doe’s two counterclaims
    seeking damages.

       Because the undisputed facts show Malibu accessed Doe’s network without his consent,

the Court should grant Doe judgment on liability for his Texas harmful computer access claim.

Likewise, because the undisputed facts show Malibu misused legal process to extort payment from

Doe, the Court should grant Doe judgment on liability for his abuse of process claim.

   A. Because there is no genuine dispute over facts on Doe’s counterclaim under the Tex.
      Civ. Prac. & Rem. Code § 143, the Court should grant summary judgment.

       1. The elements for liability under Tex. Civ. Prac. & Rem. Code § 143.

       Tex. Civ. Prac. & Rem Code provides that “[a] person who is injured or whose property

has been injured as a result of a violation under Chapter 33, Penal Code, has a civil cause of action

if the conduct constituting the violation was committed knowingly or intentionally.” In turn, Tex.

Penal Code 33.01 prohibits “knowingly access[ing] a computer, computer network, or computer

system without the effective consent of the owner.” Tex. Pen. Code § 33.02(a). The statute also

includes a distinct violation for unauthorized access with the intent to harm. Id. § 33.02(b-1).

       Above all, the law defines “access” broadly. “Access” includes, for example, “to approach,

instruct, communicate with. . . retrieve or intercept data from. . . or otherwise make use of any

resource of a computer, computer network, computer program, or computer system.” Tex. Pen.

Code 33.01(1). The statute also defines “Computer,” “computer network,” and “computer system”

broadly. Id. § 33.01(4)-(5), (8).

       2. There is no genuine dispute that Malibu accessed Doe’s network without Doe’s
          effective consent and intending to harm Doe.

       First, IPP is Malibu’s agent. Indeed, Malibu instructs IPP to monitor for potential

                                                 8
        Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 12 of 20




infringements over BitTorrent and to connect to potential infringers. (App. 4 ¶ 18; App. 57 ¶¶ 6-

7; App. 78 ¶ 102; App. 83 ¶ 131). That is why Malibu is liable for all of IPP’s acts and omissions

related to Doe’s computer network and systems.

       IPP connected its servers to Doe’s computer network or computer system. (App. 4 ¶ 18,

App. 58 ¶ 13). This connection is “access” under Tex. Penal Code § 33.01, because connecting

necessarily means “approaching” and “communicating with” a network or system. Likewise, IPP’s

download of data from Doe’s network or system was “retrieving” data. (App. 4 ¶¶ 19-21; App. 58

¶¶ 9-13). This also meets the definition of “access” under the statute. Finally, Malibu, through IPP,

accessed Doe’s network without his effective consent. (App. 83 ¶ 131, App. 88 ¶ 8). These facts

show Malibu violated Tex. Penal Code § 33.02(a)

       In fact, Malibu also violated Tex. Penal Code § 33.02(b-1) because it accessed Doe’s

network or system intending to harm. (App. 83 ¶ 133). In particular, Malibu wanted to get IP

address information to add another lawsuit to its campaign of coercing settlements despite knowing

that an IP subscriber often is not the person who shares works over BitTorrent. (Id.)

       Finally, Malibu can offer no evidence to show any genuine dispute over these facts. So the

Court should grant Doe summary judgment on liability under Tex. Civ. Prac. & Rem. Code §143.

   B. Because there is no genuine dispute over the facts on Doe’s abuse of process
      counterclaim, the Court should grant summary judgment.

       1. Legal standard for abuse of process.

       Abuse of process is the malicious misuse or misapplication of process to accomplish an

ulterior purpose. Baubles & Beads v. Louis Vuitton, S.A., 766 S.W.2d 377, 378 (Tex. App.–

Texarkana 1989, no writ) (citations omitted). Put another way, abuse of process is when one “uses

a legal process, whether criminal or civil, against another primarily to accomplish a purpose for

which it is not designed, is subject to liability to the other for harm caused by the abuse of process.”

                                                   9
         Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 13 of 20




Hutchison v. Brookshire Bros., Ltd., 205 F. Supp. 2d 629, 644 (E.D. Tex. 2002) (citing

Restatement (Second) of Torts § 682) Three elements compose abuse of process: “(1) the

defendant made an illegal, improper, or perverted use of the process, a use neither warranted nor

authorized by the process; (2) the defendant had an ulterior motive or purpose in exercising such

illegal, perverted or improper use of the process; and (3) damage to the plaintiff as a result of such

illegal act.” Id.

        2. There is no genuine dispute that Malibu has made an improper or perverted use
           of legal process.

        Malibu identifies and sues potential infringers based on an IP address it identifies through

“pieces” of digital data sent from that IP address. (App. 3-4 ¶¶ 13-22; App. 58 ¶¶ 9-13; App. 78

¶¶ 102, 105-106). But Malibu cannot dispute that it knows this method is unreliable. First, Malibu

admits that IP addresses correspond only to ISP accounts and cannot positively identify infringers.

[Counterclaim ¶ 107]. Second, Malibu does not directly compare any pieces of BitTorrent data

IPP received from an IP address with its full copyrighted films. (App. 80 ¶ 118). Indeed, these

pieces are not large enough to identify whether a BitTorrent user has copied enough of a film to

constitute copyright infringement. (Id. ¶ 106). So it is no surprise that courts have confirmed these

methods to identify alleged infringers on BitTorrent are unreliable. E.g., Cobbler Nevada, LLC,

901 F.3d at 1145 (9th Duncan, 2020 U.S. Dist. LEXIS 20905, 2020 WL 567105, at *5; Peled,

2020 U.S. Dist. LEXIS 28768 at *15-16; Malibu Media, LLC v. Doe, 2018 U.S. Dist. LEXIS

207655 (N.D. Ill. Dec. 10, 2018).

        Despite knowing these flaws, Malibu has sued and continues to sue many people who never

shared or interacted with Malibu or any of its content. (App. 79 ¶ 109; see also Dkt. 6, Notice of

Related Cases). This includes Doe, as he shows in this motion. And on the rare occasion an

infringer stands up to Malibu, Malibu has cut and run based on its “business decision.” (App. 79

                                                 10
        Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 14 of 20




¶¶ 108) (citing Malibu Media v. Tim McManus, Case No. 2:17-cv-01321-WJM-M (D.N.J.)).

       In short, Malibu files copyright lawsuits recklessly. This is an improper and perverse use

of the legal process and copyright laws. Above all, Malibu sues wagering that defendants are likely

to settle rather than spend time in court, pay legal bills, and suffer embarrassment proving their

innocence. (Id. ¶ 109). This was Malibu’s goal suing Doe. (App. 81 ¶ 123).

       And Malibu extended its improper use of the legal process even more here, by asking the

Court to unmask Doe using defective declarations. (App. 38-59). Because Malibu has not timely

served any expert disclosure or taken any discovery, it presumably is relying on those defective

declarations as the entire basis for its case. Malibu’s use of these declarations to unmask and coerce

Doe highlights how it has abused the legal process.

       3. There is no genuine dispute that Malibu maintains an ulterior purpose in abusing
          the legal process.

       The undisputed facts showing Malibu’s abuse of process also show its ulterior motive. In

sum, Malibu uses the legal process as tool for coercing settlements, without caring if it sues the

right defendant. To that end, Malibu uses its copyrights to purposely provoke unwitting BitTorrent

users to share Malibu’s pornographic films. (App. 77-79 ¶¶ 99-109; App. 81 122-24). And it does

this knowing its films have little market value. (App. 77 ¶¶ 98-99). That Malibu does not use

industry standards to police its copyrights confirms this fact. (Id. ¶ 100).

       This case follows Malibu’s ulterior purpose to a tee. And in fact, Malibu’s own conduct

highlights its ulterior purpose. Despite discovery opening in January, Malibu has served no

discovery requests. (App. 88 ¶ 9). It has not asked to inspect Doe’s computer. (Id.) And it has

served no expert disclosures, even though the deadline was July 1. (Id. ¶ 10). This inaction shows

Malibu has no interest in anything but stringing this case out, hoping Doe gives up and settles

rather than spend more resources defending Malibu’s unjustified claim.

                                                 11
         Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 15 of 20




         4. There is no genuine dispute that Malibu’s abuse of process has harmed and
            continues to harm Doe.

         Malibu admits its abuse of process caused and continues to cause Doe to spend substantial

time and money defending his good name. (App. 82 ¶ 129). Likewise, Doe has suffered mental

and physical anguish and harm to his professional activities. (Id.) Thus, Malibu’s abuse of process

harmed Doe. While the amount of damages Doe may cover should proceed to trial, these

undisputed facts show Doe has the right to summary judgment on liability for his abuse of process

claim.

VII. The Court should enter a declaratory judgment on Doe’s non-infringement
     counterclaim.

   A. Elements of copyright infringement.

         Copyright infringement requires that a plaintiff prove it “(1) owns a valid copyright and

(2) the defendant copied constituent elements of the plaintiff's work that are original.” Baisden v.

I'm Ready Prods., Inc., 693 F.3d 491, 499 (5th Cir. 2012). This “copying” element requires proof

“(1) that the defendant had access to the copyrighted work prior to creation of the infringing work

and (2) probative similarity.” Peel & Co. v. Rug Mkt., 238 F.3d 391, 394 (5th Cir. 2001). In turn,

to “determine whether an instance of copying is legally actionable, a side-by-side comparison must

be made between the original and the copy to determine whether a layman would view the two

works as ‘substantially similar.’” Id. at 395. And so summary judgment “is appropriate if the court

can conclude, after viewing the evidence and drawing inferences in a manner most favorable to

the nonmoving party, that no reasonable juror could find substantial similarity of ideas and

expression.” Id.




                                                12
        Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 16 of 20




    B. There is no genuine dispute that Doe did not access any of Malibu’s alleged copyright
       films. 2

       Malibu’s alleges that Doe infringed its films because Malibu observed BitTorrent data

corresponding to its films coming from an IP address associated with Doe’s internet subscription.

But this is lacking for three reasons. First, Doe never used BitTorrent during the period Malibu

alleges. (App. 87 ¶ 6). Second, he did not knowingly install or maintain BitTorrent on any of his

devices during the alleged infringement period. (Id.) And third, he never viewed or stored any of

the films Malibu alleges. (App. 88 ¶ 7). These three facts alone show non-infringement. See, e.g.,

Malibu Media LLC v. Doe, 2016 U.S. Dist. LEXIS 14798, at *21-22 (N.D. Ill. Feb. 8, 2016)

(granting Doe defendant summary judgment on issue of infringement with no evidence that

defendant used BitTorrent to access Malibu’s films, installed BitTorrent on his device, or stored

the films on his device).

       On top of these facts, Malibu concedes non-infringement through its Rule 8(b)(6)

admissions. (E.g., App. 80 ¶¶ 116-19). And it must, because Malibu cannot offer any evidence to

dispute Doe never used BitTorrent during the alleged infringement period or accessed Malibu’s

films. All Malibu has is (1) an IP address and (2) what it claims are “one or pieces” downloaded

from BitTorrent that correspond to its films. [Dkt. 1, Compl. ¶ 19-20]. Indeed, Malibu fails to

identify what “pieces” of its works it believes Doe copied. (See generally App. 1-11, Malibu

Complaint; App. 56-59, T. Fiser Decl.) These evidentiary failures cement why there is no genuine

dispute that Doe did not access Malibu’s alleged films.

       For these reasons, the Court should render declaratory judgment of non-infringement.




2
 Doe is not addressing the element of ownership on summary judgment. But he maintains his
denial on Malibu’s claim to ownership in the alleged copyrights. (App. 66 ¶ 23).
                                               13
          Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 17 of 20




    C. There is no genuine dispute that the digital media pieces Malibu monitored are not
       substantially similar to Malibu’s alleged copyrighted films.

          Malibu admits it never compared the “pieces” of the digital media files it monitored over

BitTorrent with the data composing the full copyrighted films. (App. 80 ¶ 118). And even if it did,

these data pieces are too small to display or perform even a part of Malibu’s films. (App. 78 ¶

106). Indeed, the Fiser declaration Malibu filed in support of its subpoena motion to identify what

constituent elements the BitTorrent user associated with Doe’s IP address allegedly copied. (App.

56-59).

          In contrast, Fiser merely concludes the digital movie file identified from a hash value was

“substantially similar” to a Malibu’s film. (App. 58 ¶ 11). But as another district court observed,

this sort of conclusion is not enough to show what constituent elements of Malibu’s films a

defendant allegedly copied. Malibu Media LLC v. Doe, 2016 U.S. Dist. LEXIS 14798 at *24-25

(N.D. Ill. Feb. 8, 2016) (concluding “[e]ven if the hash value captured in the PCAP corresponds

to portion of a digital file that is ‘identical, strikingly similar or substantially similar to’ Malibu's

copyrighted work, there is nothing before the court that describes the audio/visual material that is

represented by that hash value.”) There is no genuine dispute over lack of substantial similarity.

This is another reason the Court should grant summary judgment and issue a declaratory judgment

of non-infringement.

VIII. The Court should grant Doe summary judgment on Malibu’s claim for copyright
      infringement.

          For the same reasons showing why the Court should grant Doe summary judgment on his

non-infringement counterclaim, the Court should also grant Doe summary judgment on Malibu’s

sole claim for copyright infringement.




                                                   14
        Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 18 of 20




IX.     Granting Doe summary judgment before discovery ends is appropriate given
        Malibu’s lack of effort.

        While discovery does not close until October, the circumstances show the Court need not

wait until then to grant summary judgment. Malibu has shown no interest in seeking discovery.

Nor did it meet its Rule 26(a)(2) expert disclosure deadline.

        Even if Malibu started making last-minute discovery requests, particularly about

infringement, they would be futile. Suppose Malibu requests a forensic examination of Doe’s

computer. Whatever the examination revealed, Malibu could not introduce necessary expert

testimony about it because Malibu missed the expert disclosure deadline. Even more, Malibu’s

admissions emphasize the futility of any discovery requests it might make.

        The bottom line is the record is now complete enough to show the material facts are settled

and thus Doe is entitled to judgment as a matter of law on liability. Still, the above considerations

of fairness and justice emphasize why summary judgment is appropriate, and perhaps even

necessary, at this point in the case.

X. Conclusion

        The record shows there is no genuine dispute of fact over Doe’s three counterclaims or

Malibu’s sole claim. Malibu can no longer try to extend this case and its grip on Doe. The record,

the law, and considerations of justice all make summary judgment appropriate here.

        For these reasons, Doe asks that the Court (1) grant Doe summary judgment on Doe’s

request for a declaratory judgment of non-infringement and Malibu’s claim of copyright

infringement, and (2) grant Doe summary judgment on liability over Doe’s counterclaims for

abuse of process and harmful computer access, leaving only damages for trial.




                                                 15
       Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 19 of 20




Dated: July 17, 2020                      Respectfully,

                                          /s/ JT Morris
                                          JT Morris
                                          Texas State Bar No. 24094444
                                          jt@jtmorrislaw.com
                                          Ramzi Khazen
                                          Texas State Bar No. 24040855
                                          ramzi@jtmorrislaw.com
                                          JT Morris Law, PLLC
                                          1105 Nueces Street, Suite B
                                          Austin, Texas 78701
                                          Tel: 512-717-5275
                                          Fax: 512-582-2948

                                          Attorneys for Defendant John Doe




                                     16
        Case 5:19-cv-00834-DAE Document 32 Filed 07/17/20 Page 20 of 20




                               CERTIFICATE OF SERVICE

       Pursuant to the Federal Rule of Civil Procedure and the Local Rules, a true and correct

copy of the foregoing was served on all counsel of record by E-File on July 17, 2020.



                                                    /s/ JT Morris

                                                    JT Morris




                                               17
